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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH CAROLINA
                               DIVISION OF SPARTANBURG


NATALIE RUTH, individually and on                C.A. No.:
behalf of those similarly situated,

               Plaintiff,                           PLAINTIFF’S RULE 26.01 ANSWERS TO
                                                           INTERROGATORIES
v.

LIMESTONE UNIVERSITY,

               Defendant.


The Plaintiff, herein, by and through their undersigned counsel of record, hereby answer the

local Rule 26.01 Interrogatories of the court as follows:

       (A)     State the full name, address and telephone number of all persons or legal entities

who may have subrogation interest in each claim and state the basis and extent of said interest.

       ANSWER:         None known to the Plaintiff at this time.

       (B)     As to each claim, state whether it should be tried jury or nonjury and why.

       ANSWER:         Plaintiff is informed and believes she is entitled to a trial by jury.

       (C)     State whether the party submitting these responses is a publicly owned company

and separately identify: (1) each publicly owned company of which it is a parent, subsidiary,

partner or affiliate; (2) each publicly owned company which owns ten percent or more of the

outstanding shares or other indicia of ownership of the party; and (3) each publicly owned

company in which the party owns ten percent or more of the outstanding shares.

       ANSWER:         Plaintiff is not a publicly owned company.

       (D)     State the basis for asserting the claim in the division in which it was filed (or the

basis of any challenge to the appropriateness of the division).
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        ANSWER:          The events giving rise to the allegations in the Complaint occurred in

Gaffney, South Carolin (Cherokee county), which is covered by the Spartanburg division.

        (E)       Is the action related in whole or part to any other matter filed in this District,

whether civil or criminal? If so, provide (1) a short caption and the full case number of the related

action; (2) an explanation of how the matters are related; and (3) a statement of the status of the

related action. Counsel should disclose any cases which may be related regardless of whether they

are still pending. Whether cases are related such that they should be assigned to a single judge

will be determined by the Clerk of Court based on a determination of whether the cases: arise from

the same or identical transactions, happenings or events; involve the identical parties or property;

or for any other reason would entail substantial duplication of labor if heard by different judges.

        ANSWER:          This matter does not relate in whole or in part to any other matter filed

in this District to the Plaintiff’s knowledge.

        (F)       If the Defendant is improperly identified, give the proper identification and state

whether counsel will accept service of an amended summons and pleading reflecting the correct

identification.

        ANSWER:          Plaintiff believes the Defendant is properly identified.

        (G)       If you contend that some other person of legal entity is, in whole or in part, liable

to you or the other party asserting a claim against you in this matter, identify such person or entity

and describe the basis of said liability.

        ANSWER:          At this time, Plaintiff does not believe any other legal entity is liable for

the claims asserted in this matter.

        (H)       [Parties or Intervenors in a Diversity Case.] In an action in which jurisdiction is

based on diversity under 28 U.S.C. § 1332(a), a party or intervenor must, unless the court orders

otherwise, name – and identify the citizenship of – every individual or entity whose citizenship is
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attributed to the party or intervenor. This response must be supplemented when any later event

occurs that could affect the court’s jurisdiction under § 1332(a).

       ANSWER:         Plaintiff is unaware of any additional parties who should be named as

a Defendant in this case at this time.




Dated: June 3, 2025                           Respectfully submitted,

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